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                         EXHIBIT B
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   1             IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLORADO
   2
       Case No. 19-mj-00277-NYW-1
   3   ____________________________________________________________________

   4   UNITED STATES OF AMERICA,

   5         Plaintiff,

   6   vs.

   7   MATTHEW BRENT GOETTSCHE,

   8        Defendant.
       ____________________________________________________________________
   9

  10             Proceedings before KRISTIN L. MIX, United States

  11   Magistrate Judge, United States District Court for the

  12   District of Colorado, commencing at 2:49 p.m., December 13,

  13   2019, in the United States Courthouse, Denver, Colorado.

  14   ____________________________________________________________________

  15             WHEREUPON, THE ELECTRONICALLY RECORDED PROCEEDINGS

  16   ARE HEREIN TYPOGRAPHICALLY TRANSCRIBED. . .

  17   ____________________________________________________________________

  18                              APPEARANCES

  19             DAVID TONINI and JAMIE HOXIE, Attorneys at

  20   Law, appearing for the Plaintiff.

  21             PATRICK RIDLEY and KRISTEN FROST, Attorneys at Law,

  22   appearing for the Defendant.

  23   ____________________________________________________________________

  24                          DETENTION HEARING

  25



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   1                      P R O C E E D I N G S

   2               (Whereupon, the within electronically recorded

   3   proceedings are herein transcribed, pursuant to order of

   4   counsel.)

   5               THE COURT:    Case Number 19-mj-00277, United States

   6   of America vs. Matthew Brent Goettsche -- Goettsche.

   7               MR. TONINI:    Good morning, Your Honor.     David

   8   Tonini, Assistant U.S. Attorney on behalf of the United

   9   States.    With me is also assistant U.S. Attorney Jamie Hoxie

  10   from the District of New Jersey.

  11               THE COURT:    All right, Mr. Tonini, Ms. Hoxie, good

  12   afternoon.

  13               MS. HOXIE:    Good afternoon, Your Honor.

  14               MR. RIDLEY:    Good afternoon, Your Honor.     Patrick

  15   Ridley and Kristen Frost on behalf of Mr. Goettsche who

  16   appears.

  17               THE COURT:    Good afternoon.

  18               MS. FROST:    Good afternoon.

  19               THE COURT:    Mr. Tonini, this case, as I understand

  20   it, is currently under seal.      Is the Government moving to

  21   remove the case from under seal?

  22               MR. TONINI:   The Government is moving to remove the

  23   case from under seal with the exception of ECF 1.        And in

  24   connection with that, Your Honor, Mr. Ridley and I spoke

  25   earlier today, and we would suggest just before this hearing



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   1   submit that it might be a good idea to clear the jury box

   2   with the exception of the defendant.

   3             THE COURT:      All right, thank you.       I would like to

   4   ask the United States Marshal Service to do that.           I

   5   understand that Mr. O'Hara is conversing with his client.           I

   6   am going to let him finish that conversation and then ask the

   7   marshal service to clear the jury box with the exception of

   8   this defendant.

   9             Counsel from New Jersey, would you give me your

  10   name again, please, and spell your last name for me.

  11             MS. HOXIE:      Yes, Your Honor.      This is United States

  12   attorney Jamie Hoxie, last name H-O-X-I-E.

  13             THE COURT:      Thank you.

  14             All right.      We are here for a detention hearing

  15   with respect to this defendant.        I have received and reviewed

  16   the United States motion for defendant's pretrial detention.

  17   There is a lot of information in that motion.

  18             Mr. Ridley, what's the defendant's position with

  19   respect to detention?      Does the defendant wish to have some

  20   time to respond to the motion in writing or does the

  21   defendant intend to proceed with the hearing today?

  22             MR. RIDLEY:      Your Honor, we're prepared to proceed

  23   today.

  24             THE COURT:      All right, thank you.       Then let me hear

  25   from the Government first.       Mr. Tonini or Ms. Hoxie.



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   1              MR. TONINI:    Thank you.    With leave of the Court,

   2   Ms. Hoxie will address the issues.

   3              THE COURT:    All right, fair enough.        Ms. Hoxie,

   4   whenever you're ready.

   5              MS. HOXIE:    Thank you, Your Honor.

   6              THE COURT:    And by the way, the Government's motion

   7   to unseal is granted.     Thank you.

   8              (Quality of audio for Ms. Hoxie and Mr. Ridley was

   9   poor.)

  10             MS. HOXIE:     With the Court's permission, I would

  11   like to proffer the information that's contained in the

  12   pretrial services report.     I would like to proffer the

  13   information which I intend to go through more thoroughly

  14   that's contained in the Government's motion that was filed

  15   this morning, and I would like to offer for the Court's

  16   consideration what has been marked Government's Exhibits A

  17   through O, some of which were attached to the Government's

  18   motion.   There is a few that were not attached to the

  19   Government's motion filed this morning.

  20             THE COURT:     All right.    I will take judicial notice

  21   of the pretrial services report, as I always do.          With

  22   respect to A through O, has defense counsel had an

  23   opportunity to review those exhibits?

  24             MR. RIDLEY:    We have, Your Honor.

  25             THE COURT:     And does the defendant have any



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   1   objection to A through O?

   2               MR. RIDLEY:    No objection, Your Honor.

   3               THE COURT:    All right, thank you.      A through O are

   4   received.

   5               MS. HOXIE:    Thank you, Your Honor.         May I approach?

   6               THE COURT:    You may.

   7               MR. TONINI:    It's actually A through N.

   8               MS. HOXIE:    I'm sorry, A through N, Your Honor.

   9               THE COURT:    Oh, I'm sorry, A through N.        Thank you,

  10   A through N are received.

  11               (Plaintiff's Exhibits A through N were admitted.)

  12               MS. HOXIE:    May I approach.

  13               THE COURT:    You may.   Thank you.

  14               MS. HOXIE:    Your Honor, with the Court's

  15   indulgence, I would like to give the Court a brief kind of

  16   overview of what this case is about and the nature of the

  17   scheme, because I think it's important to understand the

  18   nature of the scheme, not only because that's one of the

  19   factors for the Court to consider in determining whether

  20   there are a combination of conditions that would militate

  21   against the risk that this defendant would flee or the danger

  22   to the community, but also just so that you can understand

  23   that if this defendant were to be released, it would be very

  24   easy for him to flee and for him to continue this scheme from

  25   anywhere in the world.



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   1              So this case is about a cryptocurrency fraudulent

   2   entity called the BitClub Network, and the defendant has been

   3   indicted for conspiracy to engage in wire fraud and

   4   conspiracy to sell an unregistered security, a share in the

   5   BitClub Network.

   6              Now, BitClub Network told investors that it was

   7   offering membership in the BitClub Network which then would

   8   in turn allow you to invest in pool mining -- like a mining

   9   pool for bitcoin.     A mining pool essentially is a pool of

  10   mining equipment that is connected together in order to have

  11   a higher hash rate so that you are appointing the miner that

  12   is more likely to mine a particular bitcoin.

  13              Now, the way it works, Your Honor, put very

  14   plainly -- and if Your Honor would like me to just skip

  15   forward, I can.

  16              THE COURT:     No, no, I'm very interested in what

  17   mining bitcoin might possibly mean.

  18              MS. HOXIE:     Okay.   So the way that -- mining

  19   bitcoin is essentially how bitcoin is created, how we get new

  20   bitcoin.   And so mining bitcoin essentially is computers that

  21   are fighting to be the first computer to solve an algorithm

  22   that is converting a transaction on the blockchain.       The

  23   blockchain is a public ledger of the bitcoin transaction.

  24   And so if you are the miner whose computer whose mining

  25   equipment is the first to confirm the transaction to solve



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   1   the algorithm, then you are awarded new bitcoin.

   2             So the process of fighting with the computer power

   3   to be the first -- to solve the algorithm is the process of

   4   mining bitcoin.

   5             THE COURT:      All right, thank you.

   6             MS. HOXIE:      Okay.   And so the hash rate is a

   7   computer hash rate, that is how fast a computer can work

   8   to -- to accomplish this -- to accomplish the algorithm and

   9   to process forward in order to solve the algorithm and be the

  10   miner awarded the particular new bitcoin.          Does that make

  11   sense?

  12             THE COURT:      It does, thank you.

  13             MS. HOXIE:      So, in other words, Your Honor, if you

  14   have a higher hash rate, it is more likely, generally

  15   speaking, that you will be the miner, the computer that is

  16   awarded the newly issued bitcoin.

  17             Now, bitcoin and bitcoin mining equipment is

  18   incredibly expensive and requires a tremendous amount of

  19   electricity to operate.      And this equipment, as I understand

  20   it, often becomes obsolete.       There are newer and newer and

  21   newer types of chips and equipment that come on the market

  22   all the time and those chips are faster and better at

  23   processing -- processing these algorithms.

  24             And so what is common is that miners or investors

  25   will pool their assets together, will pool their mining power



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   1   together because that will have the hash rate increase and

   2   they will collectively have a higher chance of being the --

   3   the entity or the pool that is awarded the newly mined

   4   bitcoin.   Does that make sense?

   5              THE COURT:   It does.

   6              MS. HOXIE:   So in this case, the bitcoin that were

   7   told investors that they were -- what they were purchasing

   8   were shares in one of three bitcoin mining pools.        Now, the

   9   BitClub Network also offered several other investment

  10   products, but the focus of the indictment is that investors

  11   purchased shares in one of these three bitcoin mining pools.

  12              Now, unfortunately, at the beginning of this scheme

  13   orchestrated by this defendant and some of his co-defendants

  14   and other co-conspirators, at the beginning of the scheme we

  15   see that this defendant and others talked about how they were

  16   going to fake the pool and fake mining earnings.        In other

  17   words, they were telling investors that they were going to

  18   get mining earnings, that they were actually mining and what

  19   they were receiving were mining earnings when, in fact, that

  20   does not appear to be the case.

  21              In addition, Your Honor, once the defendant and

  22   others actually did procure mining equipment, mining power

  23   from third parties, they nonetheless continued to show

  24   investors altered mining figures.      In other words, they were

  25   altering what they were telling investors were their profits



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    1   in the bitcoin mining pool, but, in fact, those numbers were

    2   not tied to the actual bitcoin mining that BitClub Network

    3   was accomplishing.   And we see that through several chats

    4   that were captured and we also see that through e-mails

    5   between the defendant and his co-defendants.

    6             And the reason -- one of the reasons, Your Honor,

    7   why they would be altering the mining earnings is because at

    8   the end of the day the BitClub Network appears to have been a

    9   pyramid scheme or a Ponzi.    You can see as referenced in the

   10   Government's brief on page 12, Your Honor --

   11             THE COURT:   Give me one second.

   12             MS. HOXIE:   Yes, Your Honor.

   13             THE COURT:   All right, thank you.       Page 12?

   14             MS. HOXIE:   Page 12, Your Honor.      There are two

   15   graphics on page 12, both of which were taken from BitClub

   16   Network's website as it appeared in May of 2018, and you can

   17   see that these are literally graphics of human pyramids.         The

   18   way in which -- the way in which a revenue stream for the

   19   BitClub Network or a way in which members of the BitClub

   20   Network were able to generate revenue was by recruiting new

   21   members like any typical pyramid scheme.

   22             And as this defendant and his co-defendants

   23   discussed at the beginning, many of the people, the investors

   24   in the BitClub Network, did not appreciate or know that only

   25   a portion of their money was going to go towards bit --



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    1   bitcoin mining, and a large portion, between 40 or 60

    2   percent, was getting funneled into this pyramid scheme MLM

    3   structure, a compensation structure, which basically new

    4   investors paying existing investors just for signing up.

    5              And so we see in the conversations this scheme has

    6   been going on from the middle of 2014 and existed as of the

    7   day of the takedown, which is December 10, 2019.            In fact,

    8   the website, as I understand it, remains up on the Internet.

    9   And so in short, that is the scheme in a nutshell, Your

   10   Honor.

   11             The evidence that we have of this scheme are the

   12   conversations that this defendant had with his

   13   co-conspirators.   We have them saying with Catalin Balaci,

   14   that Balaci has seen this defendant's skill at constructing

   15   attractive matrices that have almost 0 percent chance of

   16   paying more than 50 percent of the max for 99 percent of the

   17   people.   In other words, Balaci is saying that he has seen

   18   this defendant do this before where he comes up with a

   19   complicated compensation structure where the majority of

   20   people who invest are not going to get any return.

   21             We also see this defendant directing Catalin Balaci

   22   to fake the mining, to fake mining proceeds.            In other words,

   23   he's directing the computer programmer who created the -- the

   24   bones of this website, Your Honor, he's directing him to not

   25   only fake the pool and fake mining earnings, he also tells



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    1   him to bump up the payouts.

    2             In one instance, Your Honor, he tells him to bump

    3   up the payouts for mining earnings by 60 percent, and Catalin

    4   Balaci says that that's, I think he used, fast cash Ponzi.

    5   It's in the indictment.   That they're basically talking about

    6   altering the figures, that they're telling the investors the

    7   mining earnings, significantly, and the reason why they're

    8   doing this is to promote further investment -- further

    9   investment in the BitClub Network.

   10             We also see, Your Honor, in 2017, the defendant

   11   talks about -- he e-mails one of his co-defendants an exit

   12   strategy for the BitClub member, and as part of the exit

   13   strategy he says that they should start dropping mining

   14   earnings significantly starting now.

   15             What we see thereafter are investor updates where

   16   they are talking about how mining earnings are projected to

   17   not do so well, and, you know, people shouldn't be expecting

   18   mining to do well in the coming months.       In other words, it

   19   appears that this plan that is orchestrated by the defendant

   20   in 2017 ends up going into effect thereafter with -- by both

   21   this defendant and by his co-defendants.

   22             The nature and the circumstances of this offense

   23   also includes four other people who have been indicted for

   24   this fraud scheme.   Three of them are -- three of them are in

   25   custody in addition to the defendant.



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    1             So Joe Abel was arrested in the Central District of

    2   California.   He has significant ties, foreign ties, and he

    3   has been ordered detained.

    4             His co-defendant Jobadiah Weeks also has

    5   significant ties.    He travels around the world.       He has an

    6   e-mail that is included in Your Honor's material where he is

    7   asking the defendant if Sir Richard Branson can be hosted at

    8   one of the defendant's foreign properties.        He is away, he is

    9   currently detained in the Southern District of Florida.        His

   10   detention hearing will be Monday.

   11             The computer programmer, Catalin Balaci, is a

   12   Romanian citizen and he was arrested in Germany.        It's my

   13   understanding that he is detained pending extradition.

   14             But there is one co-defendant who remains at large,

   15   Your Honor.   That co-defendant is this defendant's long-time

   16   business partner.   The materials show that that co-defendant

   17   has been working with this defendant long before the BitClub

   18   Network started.    They are copying each other on e-mails

   19   regarding private planes, and that co-defendant who is still

   20   outstanding is believed to reside outside the United States,

   21   is believed to have access to not only millions of dollars,

   22   but also two private planes, and is believed to travel

   23   extensively to countries that do not have extradition

   24   treaties with the United States.      All of those factors

   25   militate in favor of keeping this defendant in custody



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    1   pending his trial.

    2             In addition, Your Honor, when this defendant was

    3   arrested on December 10, 2019, he was -- there was a search

    4   warrant for his house and there was a warrant for his arrest.

    5   When law enforcement approached this defendant's home, he was

    6   observed in front of that home approximately somewhere

    7   between 30 minutes, 45 minutes, an hour before law

    8   enforcement actually made entry into the home.

    9             Now, law enforcement actually had to breach the

   10   door, and the reason why they breached the door is because

   11   they knocked and no one came to the door, and then they

   12   observed a figure who appeared to be a man walk from the

   13   right to the left of the entryway without coming to the door

   14   to let law enforcement in.

   15             Now, law enforcement was banging on the door and

   16   saying they were police, and no one came to the door.            At the

   17   time they saw the person walk from right to left, they

   18   breached the door.   What they saw was the defendant in the

   19   entryway -- I'm sorry, in the doorway of what appeared to be

   20   his home office.

   21             The home office had several cellphones that were

   22   charging and notably the office had two computers that

   23   appeared to be set up in an operational way.           And what I mean

   24   by that, Your Honor, is there were monitors that appeared set

   25   up on the desk as if somebody had been using them, and there



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    1   were two desktops, the actual towers for the computer, that

    2   were, I believe, behind the desk.        The desktop was connected

    3   to the monitor and the desktop was also connected to the --

    4   the power cord was plugged into the wall; however, the power

    5   chord had been disconnected between the wall and the

    6   computer.    So, in other words, somebody had disconnected the

    7   power supply from the wall to the computer.

    8               Now, at least one of those computers we know was

    9   encrypted, and so by disconnecting that power supply, it

   10   makes it significantly more difficult for law enforcement to

   11   get into that computer.

   12               The weight of the evidence, as I said, Your Honor,

   13   against this defendant is fairly substantial.            We have copies

   14   of his text messages -- copies of his chat communications

   15   with his co-defendants talking about how they are going to

   16   build this on the backs of idiots, how they want investors to

   17   be unsophisticated, how the leaders understand, but the sheep

   18   don't.    I mean, the rhetoric of these defendants is very

   19   blatant and fragrant, that they are planning on taking

   20   advantage of people who are unsophisticated with bitcoin

   21   mining.

   22               In addition, we have e-mails between this defendant

   23   and his co-conspirators, and we also have a -- we also have a

   24   video by his co-defendant Joe Abel, and in that video, Joe

   25   Abel says -- and this video was posted I believe in June of



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    1   2019, Your Honor.   Joe Abel says, I think if you are

    2   investing -- I think if you are promoting the BitClub

    3   Network, you are promoting a Ponzi.       And so the weight of the

    4   evidence in this case is strong.

    5              The history and characteristics of this defendant

    6   also show that detention is appropriate in this case.        Now,

    7   while this information was not disclosed to pretrial

    8   services, this defendant has a tremendous amount of wealth

    9   and access to wealth in cryptocurrency accounts, in

   10   exchanges, both domestic and foreign exchanges, and he has

   11   run his money through several different entities and

   12   several -- including what appear to be two law firms, in

   13   accounts owned by two law firms.

   14              These acts all make it very difficult for law

   15   enforcement to trace the money, make -- and also make it

   16   difficult to understand how much wealth he has.

   17              Now, if the defendant were to be released, it would

   18   be -- the amount of money that we're talking about here, in

   19   certain circumstances, is hundreds of millions of dollars,

   20   and the number that is in the indictment of what investors

   21   gave to these defendants as a part of the scheme is $722

   22   million.   If the defendant were to be released, there is

   23   nothing from stopping him from relocating and accessing

   24   millions of dollars and starting like wherever he -- wherever

   25   he pleases.   And what that will do, it would effectively



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    1   hinder law enforcement's ability, not only to get justice for

    2   the victims, but would also hurt the Government's ability to

    3   get some of that money, that investor money back.

    4              Now, Your Honor, if you look at page -- starting at

    5   page 18 of the Government's brief, when law enforcement

    6   executed the search warrant at this defendant's home, they

    7   found several cold storage devices.       Now, a cold storage

    8   device is an offline wallet that can store cryptocurrency.

    9   It's basically a wallet that can store crypto that is not

   10   connected to the Internet at any given time.            And from these

   11   cold storage wallets law enforcement was able to recreate and

   12   see the amount of money, the amount of bitcoin, that had been

   13   transferred through these wallets.

   14             Now, those -- each of the devices and the number of

   15   transfers, the date ranges and the amounts of bitcoin is

   16   reflected on Government's page 18, but the total equivalent

   17   in U.S. dollars of these transfers is over $246 million, Your

   18   Honor.   And the analysis of where that money went is ongoing.

   19             It is incredibly difficult to see where

   20   cryptocurrency -- where cryptocurrency ends up because it can

   21   go to exchanges that are overseas and we have no ability to

   22   access those records.    It is intentionally used as a sort of

   23   anonymous sort of way to transfer funds, but what we can tell

   24   is at least six of these transfers that total the equivalent

   25   of 5 -- over $5.7 million went to a Hong Kong-based



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    1   investment management company.

    2              THE COURT:   Are you saying that these cold storage

    3   wallets likely belong to the defendant because they were

    4   found in the defendant's premises on execution of the search

    5   warrant?

    6              MS. HOXIE:   Yes, Your Honor.      Or whether they

    7   belonged to him or not, he had access to them.

    8              In addition to the cold storage wallets, Your

    9   Honor, we have insight into some of the crypto-exchange

   10   accounts that this defendant maintains.        Now, a crypto --

   11   what I mean when I say a cryptocurrency exchange, I mean,

   12   there are several different entities by which you can -- you

   13   can swap out essentially cryptocurrency for fiat currency.

   14   So I can take my bitcoin, go to an exchange and get fiat

   15   currency in return.

   16              So as shown in the bullet points on page 19, this

   17   defendant has maintained an account with Zappos, which is

   18   Hong Kong-based company, and from 2014 to 2017 he received at

   19   least 743 bitcoin, which is the equivalent of the amount of

   20   approximately just more of $300,000 into this account.

   21              He maintained an account with Poloniex, which is a

   22   U.S.-based digital access exchange.       He received

   23   approximately $2.6 million in transfers from 2017 to 2018.

   24   But in addition to this, Your Honor, we have a screenshot of

   25   his account that appears to be taken in December 2017 that



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    1   shows the estimated value of this one account, Your Honor,

    2   has holdings of approximately $9.4 million.

    3               He also maintains an account -- maintained an

    4   account with Gemini Trust from 2015 to 2017.             He received the

    5   equivalent of approximately $2.6 million.

    6               He maintained account with Coinbase from 2014 to

    7   2017.   He received the equivalent of approximately just over

    8   $2 million.

    9               He maintained at least one or more accounts with

   10   Bitconnect, which is headquartered in Hong Kong, registered

   11   in the British Virgin Islands, from 2018 to 2019.             He

   12   received at least $17 million worth of bitcoin into those

   13   accounts.

   14               Your Honor, we also have chat conversations where

   15   this defendant is discussing that he has an entity or a

   16   company in Hong Kong and that he was using that entity in

   17   Hong Kong as a part of this BitClub Network scheme in some

   18   form or fashion to try to hide that this scheme was operating

   19   in the United States, and that's reflected in the

   20   Government's motion as well.

   21               Now, what I just explained is not a complete

   22   snapshot of what this defendant has by way of cryptocurrency

   23   accounts.    There is an e-mail in which itBit, which is a New

   24   York-based financial services company that trades in custody

   25   services for cryptocurrencies, he was asked several --



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    1   several questions about his holdings, about his history of

    2   bitcoin mining and cryptocurrency -- not bitcoin mining, I'm

    3   sorry, cryptocurrency holdings, and in that e-mail he

    4   explained that he has several trading accounts on just about

    5   all of the exchanges.     And when he was asked which

    6   third-party bitcoin wallets he utilized, he responded in all

    7   caps, ALL OF THEM, explanation point, and that is seen in

    8   Government's Exhibit G.

    9               In addition to these cryptoexchanges and the cold

   10   storage wallets, this defendant has several entities, both

   11   domestic and abroad, and several bank -- traditional bank

   12   accounts that he has used to move money around from the

   13   beginning of this scheme to present day.

   14               For example, he has Sketch Holdings, LLC, which

   15   appears to be created to liquidate his cryptocurrency

   16   holdings.   There were several wire transfers that were

   17   funneled through this entity including a January 2018 wire

   18   transfer of approximately $2.497 million that was transferred

   19   from a company in the British Virgin Islands believed to be

   20   created by BitFenix to an RHB bank located in Singapore for

   21   Dash Holdings, LLC.

   22               Between February 2018 and March 2018, Sketch

   23   Holdings, LLC received three incoming wire transfers totaling

   24   approximately $5.237 million from an entity in Hong Kong held

   25   at the China Construction Bank Corporation, which is also



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    1   suspected to be from BitFenix.

    2              Bank records showed approximately $18.7 million was

    3   deposited into accounts either controlled by Goettsche, on

    4   behalf of Goettsche or at the request of Goettsche from a

    5   prepaid either credit or debit card service called au Card.

    6   There are several wire transfers that appear to be Goettsche

    7   directing au Card to then send a wire to another third-party

    8   entity.    Some of those include transfers to Biltwell Holdings

    9   in the approximate amount of $7.3 million, CryptoWatt Mining

   10   in the amount of $4.5 million, one of the law firms that

   11   Goettsche appears to be using to move money in $2.8 million,

   12   and another enterprise in the approximate amount of $3

   13   million.

   14              During the time period from January 2018 through

   15   November 2018, Goettsche deposited approximately $28.5

   16   million into a brokerage account he controlled at RBC Wealth

   17   Management in the name of Goettsche Holdings through a series

   18   of 12 wire transfers.     The source of these transfers appear

   19   to be from BitFenix, which is a a cryptocurrency exchanger.

   20              And as the deposits came into the account from

   21   BitFenix, Goettsche made several disbursements out of this

   22   account.   These disbursements appear to be approximately $23

   23   million.   Some of the payments include approximately 6.7

   24   million to purchase real estate and other business

   25   investments, approximately 4.2 million to a company to



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    1   provide tax consulting services, and approximately 5.2

    2   million to transfer to other Goettsche accounts at RBC Wealth

    3   Management.

    4             In 2018, Goettsche had an interest in an account

    5   that contained at one point in time at least $9 million as

    6   the high end balance for the year in OSL, which is a company

    7   in Hong Kong.   OSL is believed to be related to Octagon

    8   Strategies Limited.   Octagon Strategies Limited made several

    9   wire transfers to CryptoWatt, which is a bitcoin mining

   10   equipment company, of which Goettsche has served as the CEO.

   11   It appears that a total of approximately $81 million has been

   12   transferred from Octagon Strategy to CryptoWatt, and it also

   13   appears that Goettsche controls and/or may have access to

   14   this money.

   15             It is believed that Goettsche has at least two

   16   accounts at Commerce Bank in Frankfurt, Germany in the name

   17   of BitChain GmbH.   From August 2017 through May 2017, the

   18   BitChain GmbH accounts received four wire transfers totaling

   19   approximately $6.35 million.

   20             Just short of a million dollars was transferred

   21   from what we were calling Law Firm 2, one of two law firms

   22   that we have seen which appears to have been moving money

   23   through this defendant, or at least has been used by the

   24   defendant directly or indirectly to -- to move -- to move

   25   funds; approximately $2 million from an au Card account;



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    1   approximately $2 million from one of Law Firm 1's account;

    2   and then another approximately $1.4 million from another

    3   account held by Law Firm 1.

    4               And through the course of what we've been able to

    5   identify so far, it appears that Law Firm 1 and Law Firm 2

    6   have run at least $26 million of money owned directly or

    7   indirectly by Goettsche through the course of this scheme.

    8               In addition to these holdings, Your Honor, the

    9   defendant has access to large number of properties.        Exhibit

   10   H is a redacted version of a list of properties that we

   11   believe were owned by this defendant.         They came from one of

   12   his accounts that were searched in the course of this case.

   13               Some of these notable properties include an island

   14   that the defendant purchased in Belize for approximately $6.4

   15   in late 2017.   From late 2017 to October 2019, it appears

   16   that law -- what we're calling Law Firm 1 sent wire transfers

   17   approximately -- totaling approximately $7.5 million to a

   18   bank in Belize.

   19               And as referenced in Govern- -- on page 22 of the

   20   Government's brief, the defendant -- we have chats of

   21   defendant joking with one his friends about how he's

   22   intending to make this island his own country, looking for

   23   citizens.   He says, quote, We are going to do it they like

   24   they did Iceland, rape and pillage some villages looking for

   25   blonde hair and blue eyes.       His friend says, Absolutely, keep



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    1   the blood line pure.     This defendant responds, LOL, you know

    2   it.

    3              In addition to the Belize island, this defendant

    4   has at least one, possibly two properties in Costa Rica.      He

    5   also has a fractional interest in a condominium in St. Kitts.

    6   It appears that that fractional interest is also shared with

    7   his co-defendant, Jobadiah Weeks.       And in the event of having

    8   that fractional interest in St. Kitts, is it appears that he

    9   may have purchased St. Kitts citizenship by way of that

   10   fractional interest.

   11              Now, many of these properties, aside from being

   12   outside of the United States, also appear to generate income

   13   for this defendant.     So if he were to be released, he could

   14   flee and he would still have an income stream, significant

   15   income stream coming from these foreign properties.

   16              THE COURT:   Does the United States contend that he

   17   is still making an income stream from the operation of the

   18   website?

   19              MS. HOXIE:   We don't have -- we don't have insight

   20   into that, but I will say, Your Honor, that this defendant

   21   appears to have -- I have no reason to believe that this

   22   defendant's access to the administrative account of this

   23   website, which still appears to be operational, that he still

   24   has access to this admin portion of the website, and that's

   25   important because this website was -- it's not just a website



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    1   of the landing page.   This is an interactive website that

    2   allowed a member to log in, to see their account balance, to

    3   do things.

    4             And so if this defendant were to be allowed to be

    5   released, it is possible that he could go to another country,

    6   he could go anywhere in the world with his resources and he

    7   could easily re-brand those software, the programming behind

    8   this current BitClub Network website and use some of the

    9   investment products, the schemes and market them to

   10   unsuspected investors who will have no idea that this

   11   defendant is behind this newly ranked scheme.

   12             In addition, Your Honor, this defendant has a

   13   private plane, in addition to access to the two private

   14   planes that his co-defendant also appears to have, and he has

   15   a history of extensive travel.     Some of his travel is

   16   reflected at the bottom of page 23 of Government's brief and

   17   appears on the majority of page 24 of the Government's brief.

   18             And as we said, Your Honor, even if this defendant

   19   were to relinquish access to that private plane, his

   20   co-defendant who is still out on the loose has access to we

   21   believe two private planes.    And so he is going to have

   22   access to private planes whether he gives over the keys to

   23   this Tango and Cash plane or not, because his co-defendant

   24   who has all of the reasons to make sure that this defendant

   25   does not -- does not have to stand trial, the two of them



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    1   have the same incentives to flee, and that co-defendant has

    2   access to a private plane as well, at least we believe two

    3   private planes.

    4             Now, Your Honor, I understand that this defendant

    5   has family in this district; however, there are reasons to

    6   believe that the family that he has in this district are not

    7   going to -- they're not going to stop or mitigate the risk

    8   that this defendant will flee.

    9             As outlined in the Government's brief, we have

   10   reason to believe that the defendant's brother is also

   11   involved in the scheme.      We see communications at the

   12   beginning of 2014 when this scheme began where the defendant

   13   is directing Catalin Balaci to make several administrative

   14   accounts, one of which is for the defendant, one of which is

   15   for the defendant who is still out on loose, and one is --

   16   one appears to be for the defendant's brother.

   17             In addition, as outlined in the Government's brief,

   18   we have an e-mail, or what appears to be an e-mail taken from

   19   an account that was used by the brother in which it appears

   20   that he is listing a to-do list of things, outstanding items

   21   for BitClub Network, and it says the following:

   22             Members asked about the specs of their mining and

   23   complaining on the amounts they received.          I hit them with a

   24   BS response that says:      All shares are earning and getting

   25   the convenience of not having to pay a power bill or



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    1   maintaining their machine, and if the machine breaks, it's

    2   replaced here at BCN and not at home.      If they were to

    3   purchase it, is this good, help is needed for this, ammo.

    4             In addition, on the day of the takedown, law

    5   enforcement executed a search warrant at the brother's home

    6   in which they found, among other things, notes that appear to

    7   be notes related to the BitClub Network, and on a white -- a

    8   dry white erase board a note that says something to the

    9   effect of it's okay to take advantage.

   10             The fact that the defendant's brother also appears

   11   to be part of this scheme weighs against allowing this

   12   defendant to be released because of his family ties to the

   13   community.

   14             In addition, Your Honor, when law enforcement went

   15   to this defendant's parents' house, the defendant's mother

   16   opened the door and she appeared to be hesitant to

   17   acknowledge that the brother was actually inside of that

   18   residence, and the agents had to say, We know he's here, we

   19   see his car outside, before the brother then emerged and was

   20   able to be served paperwork that law enforcement had for him.

   21             And finally, Your Honor, when this defendant --

   22   when this defendant was arrested, he was heard -- overheard

   23   by law enforcement directing his wife to call a person who I

   24   will call Subject 1.   Subject 1 we believe has opened up

   25   several accounts overseas, both entities and bank accounts,



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    1   on behalf of this defendant.     At the time Subject 1 was

    2   speaking to law enforcement, but this defendant's wife called

    3   Subject 1, and as a result of her conversation with Subject

    4   1, Subject 1 stopped speaking to law enforcement.

    5             So each of these factors, I believe, warrant that

    6   this defendant should remain in custody, and notwithstanding

    7   his family ties, he will remain a flight risk if he were to

    8   be released on conditions.

    9             And as we point out at the end of our brief, Your

   10   Honor, this scheme has been very serious and has taken a lot

   11   of money from a lot of people.      As I mentioned earlier, what

   12   we can see so far is at least $722 million in investor funds

   13   were taken, and you can see by the quote at the end of the

   14   Government's brief by a victim in the e-mail to BitClub

   15   Network's customer support line, expressing anger about how

   16   he was -- he was duped from their Ponzi scheme, and he says,

   17   You duped thousands of people from my country in Cameroon,

   18   including me.   You shall rot in hell for the amount of people

   19   you rendered homeless.

   20             This is an incredibly serious offense to the

   21   Government, Your Honor.    I understand that this is a white

   22   collar case, but there are many, many, many victims that were

   23   taken advantage of by this scheme.       And the nature of this

   24   scheme that it operates nearly anonymously over the Internet

   25   means that if the defendant were allowed to be out, there



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    1   would be nothing stopping him from continuing this scheme

    2   under a different name and from continuing to work with the

    3   many, many, many people he knows around the world to continue

    4   to defraud investors.

    5             Thank you, Your Honor.

    6             THE COURT:    Thank you.    Mr. Ridley, Ms. Frost.

    7             MR. RIDLEY:    Thank you, Your Honor.

    8             Your Honor, what the Government has done is they

    9   initially indicted Mr. Goettsche for the wrong indictment.

   10   They incorporated much of that indictment in today's motion,

   11   and now the prosecution has read most of the motion, and so

   12   we have kind of three layers that are talking about

   13   essentially the same thing.

   14             But, Your Honor, what the Government didn't tell

   15   you is, for example, how much money is actually lost by

   16   investors.   In the indictment, if you look at the reference

   17   to the 722 million, it talks about the defendants obtained

   18   $722 million.   Then in their motion filed late this morning,

   19   they talk about the defendants having amassed $722 million.

   20             While it may be true that individuals purchased

   21   mining machinery and that amounted to hundreds of millions of

   22   dollars in revenue, what's not referenced, Your Honor, is the

   23   fact that when the bitcoins are mined and they mined

   24   additional bitcoins, money flows back to the investors; in

   25   this case, to the tune of over $700 million.



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    1              And this isn't a number that's an estimate or --

    2   well, it's somewhat of an estimate, but it's public record,

    3   because you can go to the bitcoin websites which reflect the

    4   activity of the BitClub Network.      And what they're doing, and

    5   you can see that through -- through different entities that

    6   the Government is aware of, one produced approximately -- and

    7   don't hold me to this number, Your Honor, but I think $685

    8   million roughly, another one of the websites reflects that

    9   there is well over $50 million or approximately $50 million.

   10   And that money that's mined goes back to the investors.

   11             Nowhere have we heard anywhere, other than the last

   12   point made by the Government that a person from Cameroon

   13   believes that he or she was ripped off and feels angry at the

   14   people who allegedly ripped them off.       Other than that, there

   15   is no reference anywhere as to who lost money, how many

   16   people lost money, where they lost money from, are they

   17   United States citizen, are they from Colorado, New Jersey,

   18   Cameroon, there is nothing about that.        It's splashy, Your

   19   Honor.   It makes a big splash when you talk about having

   20   obtained $722 million through this scheme.

   21             And you know what happens when you do that, you end

   22   up with articles in the New York Times and the Los Angeles

   23   Times and the Financial News, but there is no reference that

   24   that's a loss amount.    They talk about a guideline analysis

   25   based upon $722 million obtained or amassed.            They're not



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    1   talking about that being a loss amount.       We haven't heard any

    2   analysis of what has actually been lost.

    3             What is true is that when we're talking about that

    4   account that has about $250 million, that's accounts of

    5   bitcoins that are going to be distributed to the network.

    6   It's money that's going back to the network.

    7             When we talk about some of the other accounts --

    8   and I apologize, Your Honor, I only got the brief a few

    9   hours, and so I can't speak that conversantly about it, but

   10   there is other accounts that reflect that tens and hundreds

   11   of millions of dollars are, in fact, being paid for

   12   electricity, they're paying for machines, they're being used

   13   to do exactly what was represented was going to take place.

   14             What isn't said is that the lawyers that these

   15   funds are going to are providing advice as to the legality of

   16   what's going on here and that it's not just a couple of guys

   17   who have got together to put together a scheme, they have

   18   advisors, different ones across the country.           They have not

   19   been stingy about leaning on those advisors.           They have tried

   20   to do the right thing.

   21             And so when we get to cherrypick text messages from

   22   2014 and 2015, you know, that are devoid of context, it's

   23   easy to come to the conclusion that this is -- that there

   24   is -- these guys, you know, appear to be unsavory and

   25   unseemly characters and they're just constructing a scheme to



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    1   defraud bunches of people for their own -- to line their own

    2   pockets when these people for purchasing the mining machinery

    3   are getting ripped off.     That's not the case here.

    4               There are people who purchased this machinery and

    5   engaged in this program who have, you know, tripled, you

    6   know, quadrupled, they've made a ton of money using those

    7   machines.    So they made those -- that money from the get-go.

    8   And to be sure, the amount of money people make will

    9   fluctuate necessarily based upon the price of bitcoins.       And

   10   so when the price of bitcoins is high, people who are mining

   11   bitcoin make more money.      When it's lower, they make less

   12   money.

   13               So when we're talking, when there is reference

   14   about lower earnings or earnings are going down, that's based

   15   at least in part on the fact that the price of bitcoin is

   16   going down.   And because the price of bitcoin is going up,

   17   people are going to make money.       That's what happens, and

   18   it's not -- you know, the threat that this fluctuation

   19   doesn't reflect that this is an illegal scheme, it doesn't

   20   reflect that these folks are -- that the four defendants are

   21   defrauding anybody.

   22               Your Honor, I think that it is incredibly important

   23   that you understand that all of these folks over here, all of

   24   them, are life-long friends, friends of (inaudible)

   25   immigration, uncles, aunts, Mr. Goettsche's wife, parents,



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    1   grandparents, and these are people who have, by and large,

    2   lived in this community their entire life, like Mr. Goettsche

    3   has lived in this community his entire life.            These are

    4   people who have supported him when he went to public school

    5   in Boulder County, when he went to Fairview High School, when

    6   he went to the University of Colorado.        They have been here

    7   for Mr. Goettsche and Mr. Goettsche has been here for them,

    8   Your Honor.   He is not like these other folks, the other

    9   co-defendants who are apparently because another co-defendant

   10   is attempting to flee or because another co-defendant lives

   11   in Germany or because they're engaging in evasive actions.

   12             So now Mr. Goettsche -- you know, that's attributed

   13   to him because of what his co-defendant said in terms of

   14   evading arrest or living overseas or having been (inaudible)?

   15   He's not that guy, he is not going anywhere.            He has got

   16   three children under the age of 8, Your Honor, and he is not

   17   leaving anywhere.

   18             And the Government can talk about these different

   19   accounts that -- all they can tell you about are numbers and

   20   maybe where money has been transferred, but they don't know

   21   why.   They don't know whether money is being transferred,

   22   because that's in the nature of bitcoin businesses, because

   23   you transfer money sometimes because that's how it's done.

   24   You can't go down to the First National Bank and turn

   25   bitcoins into dollars or trade bitcoins or that type of



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    1   thing.   So there is explanations for this money, you know,

    2   the accounts which I don't have all of the explanations, but

    3   I also don't think that I have to prove anything at this

    4   point.

    5             I get the concerns of the Government, they're

    6   seeing a lot of bitcoin, a lot of money, and we're told there

    7   is lots of victims, and there is this assumption of, you

    8   know, hundreds of millions of dollars being gone, but I don't

    9   know where that comes from.

   10             So he must be leaving because he has got a bunch of

   11   dough, because he travels internationally, because he has

   12   access to planes.

   13             I think, Your Honor, that given that he has no

   14   criminal history, given that he has lived in his community,

   15   given that there is nothing to indicate that he would flee,

   16   the (inaudible) bond, frankly, is appropriate.

   17             And I frankly don't think that supervision is

   18   required, because while they talk about a lot of things,

   19   frankly, not that much of it really goes to the issue of

   20   flight, but I'm practical, I hear the numbers, and I hear

   21   what the Government is saying, and so we don't want to be,

   22   you know, in a position where we're not taking this seriously

   23   and we're giving the appearance that you don't have to worry

   24   about it because he'll never flee, you know, you're just

   25   taking my word about it.     That's not our position, Your



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    1   Honor.

    2             If I may approach to give a letter --

    3             THE COURT:      You may.    That's fine, either way.

    4   Thank you.

    5             MR. RIDLEY:      Sometimes we get, more or less, formal

    6   in this courthouse.

    7             But as an example, the whole St. Kitts thing, the

    8   fact that Mr. Goettsche applied for citizenship there is a

    9   complete red herring.      He applied years ago.          He applied

   10   with, you know, other people who were involved in

   11   cryptocurrency.     He did that and, in fact, he invested, I

   12   think, 400 to $480,000 in a timeshare there.              He and his

   13   family had been there a through a few times.              Once?    One

   14   time, they have been there one time.         And there was an

   15   application for citizenship.       He did make a supplement to

   16   that application several months ago.         He doesn't have

   17   citizenship, he doesn't care about citizenship.             It's not

   18   nothing that he has pressed.

   19             He did just yesterday, he and I, wrote this letter

   20   and we sent it off indicating it's not the citizenship.                  You

   21   know, the point is he doesn't care about it, he never planned

   22   on leaving or moving there.       He also didn't plan on going

   23   there to evade taxes or anything else.          It was an idea that

   24   he developed years ago.      He's not leaving, he's not leaving

   25   to St. Kitts, he's not leaving to Costa Rica, he's not



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    1   leaving to Belize, Your Honor.     Yes, he has properties in

    2   both Costa Rica and Belize, and he's not going anywhere.

    3             His -- you know, the Government has his passport.

    4   He has no desire to do anything that would give this Court or

    5   the Court in New Jersey any, any inkling that he intends to

    6   leave, because what happens if he intends to leave?         Well, if

    7   he does that, then who is he letting down?       He is letting

    8   down all these people, his friends and family from life, and

    9   he is not going to do that.    And, you know what, they're not

   10   going to all pick up and follow him to whatever country, Your

   11   Honor, be it Costa Rica or Belize or whatever.         Everybody's

   12   life is here, their family is here, their people are here.

   13   So that's not an issue.

   14             In terms of the -- the plane.       There is a plane,

   15   Your Honor, and it's a plane that Mr. Goettsche obtained in

   16   conjunction with a business transaction, I think it was

   17   (inaudible), don't hold me to it, but essentially the plane

   18   was kind of thrown in as part of a business deal.        It's worth

   19   about $4 million.   There is a $2 million note on that plane.

   20   He does use it, he has used it, and he is happy to give the

   21   plane over to the Court, to impound the plane, to pledge the

   22   plane, to do whatever is necessary to ensure the Court that

   23   he has no interest in using that plane.

   24             In terms of the planes that the co-defendant may or

   25   may not have, I'm not sure what relevance that has.        The



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    1   whole plane thing, Your Honor, frankly is a little bit of a

    2   red herring because anybody with the money, and it doesn't

    3   take a lot of money, but, you know, you have -- well, I mean,

    4   I don't know, I've never done it, but I don't know what it

    5   costs to lease a plane to go to San Jose, Costa Rica, I have

    6   no idea, but I bet you can do it for under $10,000.     And I

    7   bet if you wanted to leave to go to wherever, you could

    8   probably do it for -- I mean, I'm guessing at that point, not

    9   a great point I made in terms of the dollar amounts, but,

   10   it's, you know, the ability to access a private plane does

   11   not distinguish Mr. Goettsche from millions and millions and

   12   millions of people in this country.      And so I don't think

   13   that that's a point that should be held against him, but,

   14   please, have the plane and whatever -- you know, whatever

   15   needs to be done in that regard, we are happy to do that.

   16             The other thing, Your Honor, is that I think most

   17   of these folks, I haven't had a chance to talk with them, but

   18   they've all (inaudible) signed up as third-party custodians

   19   doing what they can do to ensure that Mr. Goettsche appears

   20   in court as he's required to do, whether that's here in

   21   Colorado or in New Jersey.

   22             Speaking of New Jersey, there is another condition

   23   that I haven't seen occur in this jurisdiction, but I've

   24   heard of it and I know is sometimes put in place on the East

   25   Coast, and that is that somebody like Mr. Goettsche is



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    1   accompanied by the marshal to the airport on the one end, put

    2   on a plane, taken out of a plane on the other end, then that

    3   or anything like that he's more than willing to do, but

    4   whether that's practical or comports with the, you know, what

    5   resources that are available, that's another issue, but he's

    6   willing to do that, Your Honor.

    7               Of course, if the Court wants more, you know, there

    8   are other things that we can talk about in terms of ensuring

    9   his appearance like (inaudible) monitoring.          I think that's

   10   incredibly intrusive.     I think it's, you know, very

   11   difficult, but I'll tell you this, that that's not Mr.

   12   Goettsche's concern.     Mr. Goettsche is willing to do whatever

   13   it takes, Your Honor, to prove to you, to the courts, to the

   14   people in the courts in New Jersey that he's not going

   15   anywhere.   And he doesn't want to prove that to you so you

   16   can -- you know, by way of pulling the wool over your eyes.

   17   He wants to do that so he can live with his family, his

   18   daughters, his wife, see his friends and family, but there is

   19   another part of his desire to not being detained in this case

   20   and that, as indicated, this is a very technical,

   21   computer-oriented case, which frankly his lawyers are going

   22   to have a very, very difficult time defending the case

   23   without his ability to be there with them working through the

   24   technology, working through how this all works, and it's one

   25   thing to talk to somebody, but it's another thing to sit down



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    1   in a work prod setting to illustrate how this complex

    2   technology works.

    3             I know that's, you know, not a factor in terms of,

    4   you know -- you know, I mean, it doesn't necessarily go to

    5   flight, Your Honor, but it's -- in terms of the

    6   characteristics of the case and the charges against him, what

    7   the Government is saying actually to some extent supports the

    8   need to not detain him.

    9             Your Honor, I'm going to take some time to review

   10   the Government's motion, and I apologize, but I just -- I

   11   don't have it down so it's going to take a little time here.

   12   It's not going to be seemless, but I think it's important

   13   that we at least address some of the things that I think are

   14   assumptions that the Government is making, and I think kind

   15   of the innuendo that comes out of the allegations that

   16   they're making in the complaint, which is designed to lead

   17   folks to believe that he is a scammer and a schemer and a

   18   fraudster.   None of those things are the case.

   19             I think that Ms. Hoxie did a good job in talking

   20   about the technology and how it works, Your Honor.

   21             THE COURT:    I think I have a general understanding

   22   of it, thank you.

   23             MR. RIDLEY:    And so I'm not going to comment -- a

   24   lot to comment about that.     But what is significant is that

   25   money comes in in a significant amount, 60 percent of dollars



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    1   that come in from people who joined the BitClub Network, goes

    2   to purchasing the machinery that mines the hardware, it goes

    3   to paying for the electricity, it goes to paying for the

    4   infrastructure required to power up these machines and these

    5   networks of machines.    That is a significant amount of money.

    6              There is reference to MLM or multilevel marketing,

    7   and the implication is that if it's multilevel marketing, it

    8   must be fraudulent, and that's simply not the case.       We're

    9   all familiar with legitimate, you know, brand name multilevel

   10   marketing company such as Mary Kay, there is a company called

   11   Rexel, it used to be called Rexel, there is tons of them,

   12   there is tons of people who engage in multilevel marketing.

   13             So when you scroll down the Government's motion to

   14   the diagram that looks like a pyramid, to view that and come

   15   to the conclusion that, oh, my God, it must be an illegal

   16   pyramid scheme that is a type fraud that is often committed,

   17   it's not going to serve the case.       It could be, it couldn't

   18   be.   It could be completely legitimate based on that

   19   structure.

   20             I think that these text messages from 2014, 2015,

   21   2016, suffer from (inaudible), Your Honor.        It's -- you have

   22   a little snippet, it's five years old.        It is -- you know, we

   23   can certainly look at that and prove, (inaudible) conclude

   24   that, oh, my God, this must be the beginning of this -- this

   25   horrible Ponzi scheme where millions of people are going to



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    1   get ripped off, or you cannot.        You can conclude that these

    2   are young guys who are starting a business and who are

    3   kicking around ideas, and they're bad ideas, I'll stipulate

    4   to bad ideas, some of bad language, but I don't know what it

    5   proves in terms of what we're discussing in December of 2019.

    6               You know, just a little detail in terms of the

    7   co-defendants and their attempts to flee or evade.         There is

    8   a reference to co-defendant Frank Abel arrested and detained

    9   in California, but he has significant foreign contacts

   10   (inaudible), and the fact that he was arrested several months

   11   ago in Malaysia, but had the resources to describe his way

   12   out of the custody and flee the country.          I don't see how

   13   that applies to Mr. Goettsche.

   14               Mr. Balaci apparently is Romanian, but lives in

   15   Germany, got arrested there, and he has been extradited.

   16               Co-defendant 1 is FR.      Now, speaking of

   17   Co-defendant 1.     Co-defendant 1 is the owner of this

   18   business.   Mr.   Goettsche doesn't own the business,

   19   Co-defendant 1 does.      The other two co-defendants are the

   20   distributors or the marketing arms of these entities.

   21   Mr. Goettsche is the person who is in charge of mining the

   22   bitcoins.   And so it's frankly a little bit curious that

   23   Mr. Goettsche ends up being labeled, as -- you know, I think,

   24   it doesn't show on this motion, but I think in the earlier

   25   redacted information, is Mr. Goettsche is the one who is



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    1   listed as the (inaudible) co-defendant.        It seems to me if

    2   there is a problem here, it's going to be people who are

    3   reaching out to the investors who are marketing the product

    4   or distributing the product to -- you know, to people who

    5   purchased that, and the guy who does the mining wouldn't

    6   necessarily follow, for me, that he would be a lead defendant

    7   (inaudible).

    8             The missing defendant isn't listed as the lead

    9   defendant because the Government is concerned that he is not

   10   going to show up, they're not going to be able to find him,

   11   and then it's a difficult case if your lead defendant isn't

   12   at the trial.   So, you know, it has the feeling, based upon

   13   my couple days on this case, that, you know, maybe because

   14   they've got juicier text messages against Mr. Goettsche, but

   15   you have to have the feeling that he is a little bit of the

   16   fall guy for the missing co-defendant who owns and operates

   17   the businesses and appears to be, based upon my understanding

   18   at this point in time, the shot caller.

   19             So there is the statement on page 9:          If Goettsche

   20   were to be released, there is a significant risk that he and

   21   Co-defendant 1 will leave (inaudible) any outstanding BitClub

   22   Network money to overseas accounts adding to their millions

   23   in foreign accounts in portable cryptocurrency (inaudible)

   24   and flee to a nonextraditing country.

   25             Well, Co-defendant 1 already out there, so



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    1   Co-defendant 1 can already do all those things and he

    2   probably has already done it.

    3             THE COURT:    Right.

    4             MR. RIDLEY:    I don't know how it follows that

    5   Mr. Goettsche is going to, you know, hop on the back of the

    6   pony here with Co-defendant 1 and engage in these activities.

    7   Indeed, it's my experience that co-defendants don't spend,

    8   other than drug cases or (inaudible) cases like this, people

    9   have lawyers, right, and, you know, it doesn't follow that

   10   that's a realistic, realistic threat.

   11             So there is a quote on 12 and 13 below the

   12   schematics of the (inaudible) -- and there is a segment that

   13   says I think:   If you are promoting BitClub Network, you are

   14   promoting a Ponzi scheme.     And these are statements of

   15   co-defendant Abel.   And then, to my mind, Your Honor, the

   16   rest of that quote is largely incomprehensible.         I don't

   17   really know what it means.     I know that they're talking about

   18   giving billions of dollars in equipment.        I don't know where

   19   that number comes from, I don't know where the 650,000

   20   people, I don't know who it's distributed, what the audience

   21   is; but while it may be a statement that ends up being

   22   admitted in front of a jury, I don't think that at this point

   23   in the proceedings you can look at that and say, you know, I

   24   mean -- there is just no context and it's very difficult to

   25   defend against it, (inaudible).



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    1               In terms of the actions on December 10 (inaudible),

    2   and what happens on the 10th, Your Honor, either between Mr.

    3   Goettsche and, you know, his brother who was served with a

    4   subpoena, this seems like a big, big discretion to me, Your

    5   Honor.   Apparently a law enforcement officer, and my

    6   understanding is that there is approximately 40 law

    7   enforcement officers.     I don't know the numbers myself,

    8   that's what has been told to me, but let's say 30 or 40

    9   officers.    I don't know how they're lined up, where they are,

   10   whether they're in cars, whether they're in trucks or what

   11   the circumstance is; but what -- the allegation is that, you

   12   know, there appeared to be a man who walked past inside the

   13   house from right to left.      And after that point, law

   14   enforcement had to breach the door.

   15               The implication is that the law enforcement -- law

   16   enforcement wouldn't have breached the door anyways.          I mean,

   17   my experience, Your Honor, when you've got that many folks

   18   who are suited up in SWAT gear with assault weapons and

   19   rifles and ramrods, they're taking down the door.        And the

   20   notion that it's, you know, presumably Mr. Goettsche who is

   21   walking past the door from one direction to the other, his

   22   walking past the door is a basis for that doesn't jibe with

   23   my experience, Your Honor.

   24               The -- there is discussion of cellphones with

   25   two-factor authentication.      That's not terribly unusual.



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    1   There is reference to the fact that a computer has been

    2   unplugged and then the implication that they're cutting the

    3   power supply to the computers rather than complying with the

    4   law enforcement orders to open the door so it would be

    5   difficult, if not impossible, for the law enforcement to open

    6   the encrypted context inside the computers.

    7              Your Honor is well aware of what these things are

    8   like.   I mean, there are 30 to 40 law enforcement officers

    9   invading a house, weapons, trying to, you know, make sure

   10   that officer safety is taken care of, having people, you

   11   know, go to the ground, holding him down, restraining them,

   12   making sure there is no other people.       And could it be

   13   possible that one of the officers, you know, knocked out a

   14   plug during what is a chaotic scene?       Could that be it?   Who

   15   knows, who knows what happened, but to come to the conclusion

   16   that Mr. Goettsche, who is trying to get in the way of law

   17   enforcement, as I said, is a stretch.

   18             In terms of -- you know, there is some more text

   19   messages on pages 14 and 15.     You know, I take the same

   20   position as I've already discussed.       On page 15, you know,

   21   the heading is Roman numeral small iii, (inaudible)

   22   involvement in the offense conduct warrants detention.         And

   23   then there is reference to a 2018 e-mail from the brother

   24   talking about checking out a map in Catgar (ph) or Cagar

   25   (ph).   This is on page 16.    It doesn't say who that e-mail is



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    1   from, it doesn't have the rest of the e-mail chain.         It's

    2   from 2018, it's from the brother.        I'm just not sure what it

    3   means.    You know, it kind of looks bad.       It says he helps

    4   me -- help is needed for this ammo, but without context, I

    5   don't know what to do with it, Your Honor.

    6               In terms of law enforcement found, among other

    7   things, (inaudible) related to BitClub Network and a white

    8   board that had displayed something to the effect of, quote,

    9   it's okay to take advantage.      I don't know what that means.

   10   What else is on the white board?       Was it Mr. Goettsche or

   11   whatever?    Apparently it's at the brother's house in Utah.

   12   It seems completely meaningless to me.

   13               December 10 there is reference to law enforcement

   14   knocking on the door and Ms. Goettsche's mother answering the

   15   door, and she appears to be hesitant to confirm whether the

   16   brother was there or not.      Well, I don't know how old

   17   Ms. Goettsche is, all these folks could tell me, but I think

   18   that people hesitate and are often surprised when one or more

   19   law enforcement officers, and this doesn't say how many law

   20   enforcement officers there were, knocked on the door.          And

   21   are we really to a point that we're going to justify

   22   detaining Mr. Goettsche based upon the hesitancy of his

   23   mother?

   24               So it's on page 18 where those funds, the 246

   25   million, those are funds -- those are bitcoins that will be



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    1   transferred to people in the network, people (inaudible).

    2             I can't speak to all of the transfers, Your Honor,

    3   quite candidly, on 19, other than what I've already said in

    4   terms of, you know, the market for dealing with bitcoins and

    5   cryptocurrency is limited and so it's not unusual to move

    6   that around.

    7             I note that the indictment doesn't include any

    8   money laundering charges, I note that the indictment doesn't

    9   include any tax offenses, despite that my understanding is

   10   that the IRS is leading the charge on this case.         So I don't

   11   think that should be held against him.

   12             In terms of the properties that he owns, he owns

   13   what he owns, Your Honor, and the fact that he owns

   14   properties I don't think is dispositive of his -- the

   15   analysis of whether he's going to flee the jurisdiction.        He

   16   will be without a passport, he'll do whatever the Court wants

   17   with respect to the first plane, he'll wear an ankle monitor

   18   if need be.    He is willing to have marshals take him to the

   19   airport so he can fly back and forth from Newark.        He will

   20   not be visiting any of those properties.         I don't know what

   21   to make with the reference to Sir Richard Branson.        I don't

   22   think that is particularly meaningful.

   23             And then, you know, the last quote from the person

   24   in Cameroon, you know, (inaudible) Ponzi scheme and thousands

   25   have been duped, I hope you brought. . .         It is frankly, in



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    1   my experience, very unusual in a fraud case of this

    2   magnitude, an indictment littered with those types of

    3   statements, and the fact that somebody out of Cameroon has a

    4   bones to pick and upset, that is what is.

    5              Your Honor, I talked a little bit about Mr.

    6   Goettsche's character, we talked about the nature and

    7   circumstances of the offenses.      I can tell you that Mr.

    8   Goettsche rather than fleeing (inaudible) fighting these

    9   charges.   He's not going to run away from them.        He's going

   10   to take them straight on and he is going to do everything in

   11   his power to demonstrate to his present family, to the

   12   community, to the people who have read about this case from

   13   coast to coast that what he was doing was what he always

   14   thought he was doing, which was engaging in a legitimate

   15   business that spent millions and millions of dollars on

   16   infrastructure, tens or hundreds of millions of dollars on

   17   these (inaudible) that had employees, that looked like and

   18   felt like any other business, it had accountants, auditors.

   19   That's what he plans to do, Your Honor.        He does not plan to

   20   flee.

   21              So let me confer with my client --

   22              THE COURT:    Certainly.

   23              MR. RIDLEY:   And Ms. Frost.

   24              Your Honor, if the Court has particular concerns or

   25   interests in discussing the details of any of the conditions



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    1   we suggested or any additional conditions, of course, I would

    2   be more than happy to talk about that, but for now that's it.

    3             Thank you, Your Honor.

    4             THE COURT:    Thank you.

    5             Ms. Hoxie, I'll give you the last word with respect

    6   to this argument.   Also, I wanted to ask you a question about

    7   the alleged e-mail from co-defendant Abel mentioned on the

    8   bottom of page 12 and top of page 13 of your brief.            It's

    9   unclear to me as to why a co-defendant in this alleged scheme

   10   would be warning people about a Ponzi scheme.           Maybe you can

   11   explain that to me.

   12             MS. HOXIE:    Yes, Your Honor.

   13             So the text that is on the bottom of page 12 and at

   14   the top of page 13 is actually on a video that's posted on

   15   line by co-defendant Joe Abel, and this video is posted in

   16   June 2019.   And to be clear, Your Honor, co-defendant Abel is

   17   only a defendant as to the promotion charge.            He is not a

   18   co-defendant to the fraud charge.       But I think that it is

   19   telling that he does say that he thinks that this is a Ponzi,

   20   and he explains why, Your Honor.      He says if BitClub receives

   21   no more money, they should be able to pay the 650,000 people

   22   who have given them millions of dollars in equipment and

   23   sales, and they should have hundreds and hundreds of millions

   24   of dollars in equipment, which they don't.

   25             Joe Abel through the course of BitClub Network



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    1   scheme was a promoter of the scheme and he identified himself

    2   as one of the main people involved, that he was at the top --

    3   if you're thinking of a pyramid, that he was at the top of

    4   this, and here he is in 2019 saying they don't have it, they

    5   don't have the equipment and the mining that they are

    6   representing that they should have in light of the sales that

    7   are coming from investors.

    8              I don't know what -- what this co-defendant's

    9   motivations are in the whole scheme of this.            It's my

   10   understanding that he stopped being affiliated with BitClub

   11   Network after posting this, and I don't want to speculate or

   12   give incomplete information to the Court as to why he would

   13   have put this on the Internet.

   14              If there are any particular points that Your Honor

   15   would like me to address in response, otherwise I will just

   16   hit some highlights.

   17              THE COURT:   You know, there really is not.            I know

   18   there is a lot of information here, I know Mr. Ridley went

   19   through a lot of it.    To the extent that you wish to clarify

   20   anything, of course, feel free to do so.

   21              MS. HOXIE:   I will just note, Your Honor, there is

   22   much to be said about how this is not a -- this is just an

   23   MLM, this investor money went back to investors, that these

   24   texts or these -- these are actually chats taken out of

   25   context.   Grand jury, in short, disagreed, Your Honor.            This



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    1   is an indictment.   Federal grand jury returned the wire fraud

    2   conspiracy charge against this defendant and found that this

    3   was fraud and that this defendant conspired to commit fraud.

    4             With respect to whether this money was nefarious or

    5   not, for purposes of this detention hearing, Your Honor, the

    6   main focus that this defendant has access to this money,

    7   whether it's by legitimate means or not, he has access to

    8   millions and millions of dollars, some of which is in foreign

    9   accounts, some of which is in crypto exchanges and some of

   10   which was in or was transferred cold storage wallets.

   11             Now, the defendant has, as we can see, entities in

   12   Hong Kong, entities and accounts in Germany, crypto accounts

   13   in a variety of different exchanges.      That access (inaudible)

   14   means that there are no combination of conditions that can

   15   ensure that he will not flee.     And there is little to stop

   16   him from taking his family and going somewhere with these

   17   millions of dollars and living a good life.

   18             Now, there is mention -- there was mention that he

   19   does not want to let down the people who are in this

   20   courtroom; however, if you look at page 15 of the

   21   Government's brief, there is explanation from his

   22   co-defendant Balaci, somebody who has worked with this

   23   defendant for the past ten years, and Balaci explains,

   24   notwithstanding their (inaudible) relationship, what this

   25   defendant did when it was advantageous to him.



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    1             He explains:   In February he told me to buy and

    2   rent extra space and deal with the power for at least an

    3   (inaudible) 25 megawatts, so I did, did rental agreements,

    4   bought land and a high voltage transportation station,

    5   prepped everything.   This month when I flew to Canada, he

    6   told me that the only way he'll buy from me is if I give him

    7   50 percent of my company, so he put me with my back against

    8   the wall because I trusted him, and now takes advantage of

    9   it, this after I literally made him hundreds of mill --

   10   millions for the past two years of his stupid projects.      He

   11   literally has an island in Belize and a private plane.      For

   12   the past 11 years I was his loyal dog, did not work for

   13   anyone else, and now he is treating me like this.

   14             The defendant's assurances that he is going to do

   15   the right thing here run contrary to the evidence that the

   16   Government has in this case.

   17             With respect to a mention that there were auditors

   18   and that's what makes this business legitimate, you see at

   19   the bottom of page 14, at the top of page 15 of the

   20   Government's brief, that's just saying to Balaci, quote:     We

   21   can make up the numbers any way we want to appease auditors.

   22   This defendant has no problem misrepresenting, lying and

   23   taking advantage when it is in his interest.

   24             And nothing, no conditions that this Court can

   25   impose is going to change that.     If he has ankle monitoring,



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    1   as Your Honor knows, if he cuts his ankle monitor off, it is

    2   not an immediate response.       There is a delay period in which

    3   this defendant will have plenty of time and resources to flee

    4   the country if that's what he wants to do.

    5              And with respect to Co-defendant 1, the Government

    6   significantly disagrees with the characterization that

    7   Co-defendant 1 is not the lead defendant in this case merely

    8   because he is believed to reside outside the United States.

    9              You see in these chat messages there in the

   10   indictment and the Government's motion that it is this

   11   defendant who is directing Balaci to alter the mining

   12   figures.   Now, this defendant is in communication with

   13   Co-defendant 1 throughout, but it is this defendant who is

   14   saying bump up the volume, fudge the numbers, we're building

   15   this on the backs of idiots.       And it is this defendant in

   16   2017 who sends to Co-defendant 1 the plan to drop mining

   17   earnings significantly so that they can retire RAF, quote,

   18   rich as fuck, Your Honor.       That came out of this

   19   defendant's -- this was this defendant, not Co-defendant 1,

   20   coming up with these plans that they will to continue to

   21   manipulate the numbers throughout the course of the scheme.

   22              And just to be clear, Your Honor, SWAT was not at

   23   this defendant's house when they made entry, there were no

   24   SWATs in there.     This was not a case where they knocked out

   25   the plugs, Your Honor.      The plugs were -- the plugs were



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    1   plugged into the wall.    The point of disconnect was that this

    2   was a -- this was a desktop.     The point of disconnect was the

    3   power source here, Your Honor.       That is not something that

    4   happens unintentionally, and I can certainly -- I would

    5   certainly be skeptical of the suggestion that that would be

    6   an accident that would happen to both computers that were set

    7   up.

    8             For these reasons, Your Honor, Government

    9   respectfully requests that this defendant be detained pending

   10   his trial.

   11             THE COURT:    Thank you.    Give me just a moment.

   12             MR. RIDLEY:    Your Honor, if I could just address

   13   the issue of the one specific e-mail that you were concerned

   14   about.

   15             THE COURT:    Yes.

   16             MR. RIDLEY:    With reference to the --

   17             THE COURT:    The video, Mr. Abel's video?

   18             MR. RIDLEY:    Exactly.

   19             THE COURT:    Right.

   20             MR. RIDLEY:    And so my understanding is that --

   21   that the point in time that the -- or the video was sent,

   22   Mr. Able had already been terminated.      There was a competitor

   23   by the name Dunnings (ph), a competitor in the cryptocurrency

   24   space, that paid him $250,000 to make and upload that video.

   25             THE COURT:    Thank you.



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    1              Ms. Hoxie, with respect to Government Exhibit E and

    2   an e-mail or a couple of e-mails dated 10 September 2017, is

    3   the Government's contention that the writer of the e-mail

    4   that begins, Dude, had an idea, is this defendant?

    5              MS. HOXIE:   Yes, Your Honor.      It is the

    6   Government's position that this defendant maintained control

    7   and used -- we have redacted it so that it's not a public

    8   record, but this e-mail account is under the name BitClub

    9   Network.

   10              THE COURT:   Thank you.

   11              The Court has jurisdiction over the subject matter

   12   of the action and over the parties.       Venue is proper in the

   13   District of Colorado.    Each party has been given a fair

   14   opportunity to be heard on the issue of detention.

   15              Mr. Goettsche, as you've heard, there are certain

   16   factors I must consider under the law in making a decision as

   17   to whether there are conditions of release that I can impose

   18   that will reasonably assure your appearance in court in the

   19   future as well as the safety of the community.          Those factors

   20   include the nature and circumstances of the offense charged,

   21   the weight of the evidence against you and your history and

   22   characteristics, including your character, your physical and

   23   mental condition, your family ties, your employment, your

   24   financial resources, your length of residence in the

   25   community and community ties, your past conduct, your history



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    1   relating to drug or alcohol abuse, your criminal history,

    2   your record concerning appearances at court appearances,

    3   whether you were on some form of release at the time of the

    4   commission of the alleged incident offense and the nature and

    5   seriousness of the danger to any person or to the community

    6   that would be posed by your release.

    7             I have received and reviewed and take judicial

    8   notice of the pretrial services report.       The pretrial

    9   services report reflects some information that is necessary

   10   for the Court to consider, and that information was pointed

   11   out by your attorney; for example, that you have very limited

   12   criminal history and that you have resided at your current

   13   address for ten years, that you're married, have been married

   14   to your wife for 13 years, that you have three children, ages

   15   8, 5 and 3.

   16             I also note from the information provided to the

   17   Government -- provided by the Government, excuse me, that

   18   there are certain other issues that the Court must consider

   19   in making a decision as to detention.      I have to consider the

   20   information relating to the Government's position that you,

   21   in fact, have access to vast sums of bitcoin which can be

   22   easily exchanged for dollars.

   23             I have to consider the Government's contention that

   24   on your arrest you ignored the knocking of the Government

   25   officers at the door, delayed in opening the door, thus



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    1   requiring them to break into your home and that at the time

    2   when they did so, the power supply to your two desktop

    3   computers had been disconnected.

    4               I have to consider the various e-mails provided in

    5   the Government's submission, including some e-mails which

    6   contain some statements that appear to be misrepresentations

    7   or appear to endorse misrepresentations.         For example, the

    8   statement in the September 2017 exchange at the bottom of

    9   page 14 and top of page 15 where you allegedly stated:         And

   10   we can make up the numbers anywhere we want to appease

   11   auditors.

   12               I have to consider the call that you directed your

   13   wife to make at the time of your arrest.         I have to consider

   14   the Government's statement that the person who you directed

   15   your wife to call was speaking to law enforcement about his

   16   relationship with you at the time when your wife called and

   17   that he thereafter ended the interview.

   18               I have to consider the properties that you own, as

   19   reflected in the Government's submissions, the island in

   20   Belize, there is a home in Keystone, a long-term rental in

   21   Pennsylvania, a home in Utah, some turnkey properties in

   22   Scottsdale, some properties in Costa Rica.

   23               I have to consider the amount of travel reflected

   24   in the Government's submission on page 23 and 24 between May

   25   of 2016 and November 30 of 2019, over a period of three and a



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    1   half years.   By my rough count, I have you in at least 14

    2   foreign countries, including Costa Rica, Mexico, Belize,

    3   United Kingdom, Montreal, Germany, the Bahamas, Jamaica,

    4   Macedonia, Iceland, Tokyo, South Korea, Dubai and Hong Kong.

    5             I have to consider your access to a private plane.

    6   I have to considerate the serious nature of the offense and

    7   the serious nature of the charge -- the penalty that you will

    8   face in the event that you are convicted of this offense.

    9             Under these circumstances, I cannot find that there

   10   is a condition or combination of conditions that I can impose

   11   that will reasonably assure your appearance in court in the

   12   future and, therefore.    You are remanded to the custody of

   13   the United States marshals.

   14             Counsel, I know you will be addressing issues in

   15   New Jersey.   The Court will sign the commitment to another

   16   district form for transportation of the defendant to New

   17   Jersey for further proceedings.      I will also sign the order

   18   requiring the defendant to appear in the other district to

   19   the extent that that's necessary as well.        I know the

   20   defendant will be informed of the date and time when he needs

   21   to appear there.

   22             Anything further from the Government with respect

   23   to Mr. Goettsche today?

   24             MR. TONINI:    No, Your Honor, thank you.

   25             THE COURT:    Anything further from the defendant,



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    1   Mr. Ridley?

    2             MR. RIDLEY:     No, Your Honor, thank you.

    3             THE COURT:     Thank you.    We're in recess.

    4             (Whereupon, the within hearing was then in

    5   conclusion at 4:29 p.m.)

    6

    7                       TRANSCRIBER'S CERTIFICATION

    8   I certify that the foregoing is a correct transcript to the

    9   best of my ability to hear and understand the audio recording

   10   and based on the quality of the audio recording from the

   11   above-entitled matter.

   12

   13   /s/ Dyann Labo                           December 20, 2019

   14   Signature of Transcriber                     Date

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